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IN THE UNITED STATES DISTRICT COURT, 18:0. cr MARYLAND
FOR THE DISTRICT OF MARYLAND

Christopher Enc Bates

12005 Rousby Hall Road

Lusby, Maryland 20657
(Full name and address of the plaintiff)

Civil Action No. GJh f 5 CV2 67 8

(Leave blank. To be filled in by Court.)

Y.

Ruby Tuesday, Inc.

150 West Church Avenue

Maryville, Tennessee 37801

(Full name and address of the defendant(s))

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

1. Plaintiff is a resident of Calvert County, Maryland
(Fill in county or city and state of residence)
2. Defendant(s) reside(s) or does business at the following location:

815 North Prince Frederick Blvd. Prince Frederick, Maryland 20678

3. This action is brought pursuant to (check all spaces that apply):

[| Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000¢, ef
seq., for employment discrimination on the basis of race, color, religion, sex, or
national origin.

[] Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621,
et seq., for employment discrimination on the basis of age. My year of birth 1s:

Complaint: Employment Discrimination (Rev. 6/2000)

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LJ Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for
employment discrimination on the basis of a disability by an employer which
constitutes a program or activity receiving federal financial assistance.

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et
seq., for employment discrimination on the basis of disability.

4. Iam complaining about (check all that apply):

| Failure to hire me. I was refused a job on the following date:

Termination of my employment. I was terminated from my employment on the

following date: August 27, 2014

[ | Failure to promote me. I was refused a promotion on the following date:

[_] Other (explain what happened):

5. The conduct of Defendant(s) was discriminatory because it was based on (check
all that apply):

T Jrace [_|color [_Jreligion Lsex (J age CJ national origin [V] disability

6. The facts of my claim are:

(See Attachment)

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1. On August 27, 2014 The Plaintiff was terminated from employment from the defendant. The

basis of the termination was that the Plaintiff was a registered sex offender and a liability to the
campany. This was brought to the defendant's attention after receiving a completed back
ground check from the plaintiff. On November 13, 2014 the Plaintiff filed a complaint with the
EEOC, Baltimore field office; based upon discrimination of employment. Plaintiff also stated in
the complaint that due to his disability the defendant violated the Americans with Disabilities
Act Amendments Act of 2008. On June 25, 2015, the Plaintiff received a Dismissal and Notice of
Rights Letter from the EEOC, Baltimore field office. Attached to this complaint is a copy of the
Notice of Rights Letter for the court records.

In May of 2010, The Plaintiff approached Adam Hampshire General Manager of the Prince
Frederick Ruby Tuesday. He was the General Manager from 2010 to 2014. He hired the Plaintiff
as a cook and the Plaintiff proceeded to move up while working there in that time frame. The
Plaintiff did receive at least two raises from Mr. Hampshire and an excellent evaluation. Mr.
Hampshire promoted the Plaintiff to back of the house shift leader in on or about 2012. Mr.
Hampshire’s supervisor at the time was Mr. Kevin Hunsbuger. He was also told by Mr.
Hampshire about the Plaintiffs conviction from September 1997. At this point no one inside the
Defendants upper management ever approach the plaintiff about a back ground check and or to

terminate Plaintiff.

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Mr. Hampshire was aware of the Plaintiffs conviction and aware of the Plaintiffs mental

condition (OCD) at the time of employment. Sometime in 2013 Mr. Hunsburger jeft the

company. After a few months a new district manager was assigned to Mr. Hampshire. Ouring
this time the Plaintiff was still a back of the house shift teader and a cook at the same time, Mr.
David Strong was appointed by Mr. Robert Prunty vice president of operations
Baltimore/Washington area; to be the new district manager for the Prince Frederick Ruby
Tuesday.

During a visit from Mr, Strong and Mr. Prunty; the Plaintiff was on his regular scheduled duties
as a back of the house shift leader, Mr. Strong and Mr. Prunty both approached Mr. Hampshire

and proceeded to ask about the Plaintiffs performance and to see if he could be moved into

management. Mr, Hampshire at that point told them about his conviction fram September
1997 and that he wouldn't be able to move up in the company. Later on Mr. Hampshire told the
Plaintiff about the conversation he had with Mr. Strong and Mr. Prunty. Still at this point
nothing was said to the Plaintiff about proceeding with a background check and or termination

from employment.
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5. Onor about June of 2014 Mr. Hampshire teft the company to seek other employment. A new
General Manager was assigned to the unit. Mr. Adam McComas. The Plaintiff believes that Mr.

McComas was aware of the Plaintiffs conviction; but nothing was addressed from Mr. McComas

at the time. In July of 2014, Mr. McComas approached the Plaintiff and told him that Mr. Strong

wanted the Plaintiff to complete and send him a background check form. The Plaintiff states
that he became very nervous about this and asked several questions to Mr. McComas. Mr.
McComas reassured him that Mr. Strong was going to handle it. A few weeks later Mr.
McComas asked the Plaintiff to complete another background check form because Mr. Strong
was coming in and needed to get another one to corporate to start the process. The Plaintiff
found this to be odd, but did what he was told by his superiors.

6. On August 27, 2014 Mr. David Strong and Mr. Robert Prunty came into the unit. The Plaintiff
was than approached by Mr. McComas and was told that Mr. Strong wanted to speak to him.
The Plaintiff sought out Mr. Strong who was standing out back near the dumpster area along
with his supervisor Mr. Prunty. Mr. Strong started the conversation. He proceeded to inform
the Plaintiff that since the Plaintiff was on the Maryland Sex Offender Registry that and in
quotes his words “We are going to part ways”. And also in quotes his words “Because you are a

liability to the company.” Mr. Strong also proceeded to inform the Plaintiff that the Defendant

wasn’t going to go against the Plaintiffs claims for unemployment insurance.

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7. The Plaintiff feels that this court has full jurisdiction based upon the facts in this complaint and

the following legal basis. Plaintiffs Civil Liberties where violated. The Plaintiffs’ disability was

violated under the ADA Act of 1990. The Defendant used false statements to the State of

Maryland under the Department of Labor, Licensing, and Regulation. The Plaintiff furthermore
states that the State of Maryland under the Department of Public Safety and Correctional
Services, in the Maryland Sex Offender Website states a warning of anyone who attempts to use

this information to unlawfully injure, harass, or commit a crime against any individual named in

the registry working at any reported address. Such action could result in civil or criminal
penalties.

8. The Plaintiff basis of these claims in the body of the complaint are this. The Plaintiff states that if
he was a true liability than why the defendant would hire him not once but twice. Also in the
Plaintiffs rebuttal to the EEOC; The Plaintiff states that during his time working at the Prince
Frederick unit; the defendant hired individuals from the Calvert County Detention Centers Pre-
Release Unit. They hired several individuals from the Pre-Release Unit. This would negate Mr.
Strong's statement that the Plaintiff was a liability to the company. Furthermore, during the
Plaintiffs working at the unit they did in fact hire a convicted sex offender from the Pre-Release
Unit. A total of two individuals where hired. The other individual was an outside hire. The

:
Defendant states in their letter to the EEOC that they take a zero tolerance to hiring sex
offenders. Attached are public documents of the two individuals. Also in the Defendants letter
to the EEOC they state only names that they have dismissed from employment that where like

the Plaintiff. This shows no proof, just a list of names whereas the Plaintiff his showing knowing

facts of others that where hired that had a same status or conviction like the Plaintiff.

9.

10.

11.

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Mr. Strong and Mr. Prunty the Defendants upper management knowing previously full well of
Plaintiffs conviction; before having the Plaintiff fill out a background check form and was aware
of not being able to move the Plaintiff up into management. Attached is Exhibit “A” a letter
from Mr. Hampshire. This violates the Plaintiffs Civil Liberties and furthermore violates the rules
from the Maryland Sex Offender Registry under harassment of the Plaintiff from both Mr.

Strong and Mr. Prunty; The Defendants employed upper management. This has caused The

Plaintiff te undergo undue stress and severe financial difficulties.

The Plaintiff has been offender free for some 18 years now. The Plaintiff has sought out
therapy for his OCD and also states that he has learning disabilities. Attached is Exhibit “B” a
letter from Plaintiffs therapist of such diagnosis. Also that Plaintiff during his interview with Mr.
Hampshire told him of his conviction and mental status. Three federal laws protect the rights of
people with disabilities, which can include people with learning and attention issues. These laws
are the Americans with Disabilities Act (ADA), the Individuals with Disabilities Education Act
(IDEA) and Section 504 of the Rehabilitation Act. Two out of Three which the Plaintiff feels that
the defendant violated.

The Plaintiff wherefore asks the court to grant such relief as maybe appropriate. To include but
not limited, to have both parties seek mediation and come to an agreeable census of
compensated relief. Or if agreement is not met than Plaintiff humbly asks the court to grant
such relief in monetary damages in the amount stated in the body of the complaint. The
Plaintiff also asks the court to consider the amount of monetary damages listed in the body of
the complaint to be negotiable and or based on the facts of the case. Whichever the court

deems appropriate.

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7. The approximate number of people employed by Defendant is: 590+

8. The events I am complaining about took place on the following dates or time period:
June 2014 - August 2014

9. I filed charges on the following date; November 13, 2014 with:

Ll UW

10.

Equal Employment Opportunity Commission (EEOC)
Maryland Human Relations Commission

Other (give name of agency and location):

I received a right to sue letter (attach copy) on the followmg date:

June 25, 2015

WHEREFORE, Plaintiff asks the Court to grant such relief as may be appropriate,

including

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but not limited to (check all that apply):

Injunctive relief (specify what you want the Court to order):

Back pay.

Reinstatement to my former position.

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Monetary damages in the amount of. $6,300,000.00

| Costs and attorneys fees.

C Other (specify):

GAOL

(Date)

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(Signature)

Christopher Eric Bates

12005 Rousby Hall Road

Lusby, Maryland 20657

(410)231-4607

(Printed name, address and phone number of
Plaintiff)
